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                      EXHIBIT B

           SUMMARY OF DISBURSEMENTS
               Case 23-11161-JKS             Doc 533-3        Filed 12/07/23          Page 2 of 6




PRIME CORE TECHNOLOGIES INC., OFFICIAL COMMITTEE OF                             Invoice                6969434
UNSECURE                                                                           Date            Nov 29, 2023
ATTN: PRIME CORE TECHNOLOGIES, INC.                                               Client                039948
330 SOUTH RAMPART BLVD.
SUITE 260
LAS VEGAS, NV 89145

RE: COSTS


                                                INVOICE

For professional services rendered in connection with the above captioned matter
through October 31, 2023:




Matter No.     Matter Name                                              Fees               Costs            Total
039948.0001 COSTS                                                        0.00          3,145.08          3,145.08
               Total                                                     0.00          3,145.08          3,145.08


                   Total Current Fees                                                                       $0.00

                   Total Current Costs                                                                  $3,145.08

                   Total Invoice                                                                        $3,145.08
            Case 23-11161-JKS        Doc 533-3      Filed 12/07/23    Page 3 of 6
PRIME CORE TECHNOLOGIES INC., OFFICIAL COMMITTEE OF UNSECURE                 Invoice 6969434
RE: COSTS                                                                             Page 2
November 29, 2023


                                     COST DETAIL


Date       Description                                                                    Value
10/03/23   COPIES                                                                              2.30
10/03/23   COPIES                                                                              3.00
10/03/23   COPIES                                                                          21.20
10/03/23   COPIES                                                                              4.60
10/03/23   COPIES                                                                          23.60
10/03/23   COPIES                                                                              1.20
10/03/23   COPIES                                                                          14.80
10/03/23   COPIES                                                                          13.40
10/03/23   COPIES                                                                              2.40
10/03/23   COPIES                                                                              0.60
10/03/23   COPIES                                                                              2.20
10/03/23   WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                        2.00
10/03/23   WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                    74.00
10/03/23   WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                    99.00
10/04/23   TAXI - 9/18/23; VENDOR: MATTHEW SAWYER; INVOICE#: 100423; DATE:                     2.90
           10/4/2023
10/04/23   TAXI - 9/18/23; VENDOR: MATTHEW SAWYER; INVOICE#: 100423; DATE:                     3.25
           10/4/2023
10/04/23   TAXI - 9/18/23; VENDOR: MATTHEW SAWYER; INVOICE#: 100423; DATE:                     3.25
           10/4/2023
10/04/23   TAXI - 9/18/23; VENDOR: MATTHEW SAWYER; INVOICE#: 100423; DATE:                     3.25
           10/4/2023
10/04/23   TAXI - 9/19/23; VENDOR: MATTHEW SAWYER; INVOICE#: 100423; DATE:                 41.98
           10/4/2023
10/06/23   OUTSIDE COPIES - VENDOR: ON PRESS EDISCOVERY; INVOICE#: 5003510;               586.29
           DATE: 10/4/2023
10/09/23   TRANSCRIPTS - VENDOR: RELIABLE; INVOICE#: WL112723; DATE: 9/20/2023             43.20
10/09/23   TAXI - 10/5/23; VENDOR: BENNETT SILVERBERG; INVOICE#: 100923; DATE:            136.78
           10/9/2023
10/09/23   TAXI - 10/5/23; VENDOR: BENNETT SILVERBERG; INVOICE#: 100923; DATE:                 8.93
           10/9/2023
10/09/23   TRAIN TRAVEL - AMTRAK B SILVERBERG/R STARK 10/5/23; VENDOR:                  1,084.00
           BENNETT SILVERBERG; INVOICE#: 100923; DATE: 10/9/2023
10/10/23   COPIES                                                                              2.60
10/10/23   COPIES                                                                              0.10
10/10/23   COPIES                                                                              0.20
10/11/23   MEALS - 9/13/23; VENDOR: ROBERT J. STARK; INVOICE#: 101123; DATE:               97.00
           10/11/2023
10/11/23   WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                        2.00
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PRIME CORE TECHNOLOGIES INC., OFFICIAL COMMITTEE OF UNSECURE                     Invoice 6969434
RE: COSTS                                                                                 Page 3
November 29, 2023


Date          Description                                                                     Value
10/11/23      WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                     54.00
10/12/23      OUTSIDE COPIES - VENDOR: ON PRESS EDISCOVERY; INVOICE#: 5003593;                274.42
              DATE: 10/11/2023
10/14/23      TRAVEL AGENT FEE - 859030268 09/18/23; VENDOR: DINERS CLUB;                      30.00
              INVOICE#: 5528350069999929-1023; DATE: 10/14/2023
10/17/23      TAXI - 9/19/23; VENDOR: TRISTAN AXELROD; INVOICE#: 101723; DATE:                 69.35
              10/17/2023
10/17/23      TAXI - 9/19/23; VENDOR: TRISTAN AXELROD; INVOICE#: 101723; DATE:                 37.65
              10/17/2023
10/17/23      COPIES                                                                               0.20
10/18/23      COPIES                                                                               1.70
10/19/23      COPIES                                                                               1.80
10/19/23      COPIES                                                                               1.00
10/19/23      COPIES                                                                               2.60
10/20/23      WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                     15.00
10/20/23      WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                    267.83
10/20/23      WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                     99.00
10/24/23      COPIES                                                                               1.00
10/24/23      COPIES                                                                               1.50
10/24/23      COPIES                                                                               0.10
10/24/23      COPIES                                                                               1.00
10/25/23      COPIES                                                                               0.10
10/25/23      COPIES                                                                               0.10
10/25/23      COPIES                                                                               1.50
10/25/23      COPIES                                                                               1.20
10/25/23      COPIES                                                                               0.60
10/25/23      COPIES                                                                               0.10
10/25/23      COPIES                                                                               0.10
10/26/23      COPIES                                                                               0.20
10/26/23      COPIES                                                                               1.40
10/26/23      COPIES                                                                               0.90
10/26/23      COPIES                                                                               0.70
              Total Costs                                                                   3,145.08


                                       COST SUMMARY


Description                                                                                   Value
MEALS                                                                                          97.00
OUTSIDE COPIES                                                                                860.71
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PRIME CORE TECHNOLOGIES INC., OFFICIAL COMMITTEE OF UNSECURE                        Invoice 6969434
RE: COSTS                                                                                    Page 4
November 29, 2023


Description                                                                                      Value
TRANSCRIPTS                                                                                       43.20
TRAVEL AGENT FEE                                                                                  30.00
TRAIN TRAVEL                                                                                   1,084.00
TAXI                                                                                             307.34
WESTLAW ONLINE TRANSACTIONAL SEARCHES / DOCS                                                     612.83
COPIES                                                                                           110.00
          Total Costs                                                                          3,145.08




                                        INCLUDES ONLY TIME AND COSTS TO DATE
                             KINDLY RETURN ATTACHED REMITTANCE PAGE WITH YOUR PAYMENT
                                               PAYABLE WITHIN 30 DAYS
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PRIME CORE TECHNOLOGIES INC., OFFICIAL COMMITTEE OF                          Invoice             6969434
UNSECURE                                                                        Date         Nov 29, 2023
ATTN: PRIME CORE TECHNOLOGIES, INC.                                            Client             039948
330 SOUTH RAMPART BLVD.
SUITE 260
LAS VEGAS, NV 89145

RE: COSTS




Balance Due: $3,145.08


            To ensure proper credit to your account, please include this page with your payment.


                                                                           Remittance Address
                                                                           Brown Rudnick LLP
                                                                           P.O. Box 23079
                                                                           New York, NY 10087-3079

                                                                           Wire Instructions
                                                                           JP Morgan Chase
                                                                           270 Park Avenue




                                                                           For Credit To
